       Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 1 of 9




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   §
                                           §
                                           §
v.                                         §        Case No. 21-CR-00046-RDM
                                           §
PATRICK MONTGOMERY and                     §
BRADY KNOWLTON,                            §
                                           §
       Defendants                          §

DEFENDANTS’ JOINT REPLY TO THE GOVERNMENT’S MEMORANDUM
 IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS COUNT TEN
                     OF THE INDICTMENT

TO THE HONORABLE RANDOLPH D. MOSS, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT OF COLUMBIA:

       PATRICK MONTGOMERY and BRADY KNOWLTON, the Defendants in the

above styled and numbered cause, by and through their respective, undersigned coun-

sel, submit the following joint reply memorandum to the Government’s memorandum

in opposition (Doc. 41) to their Motion to Dismiss Count Ten of the Indictment (Doc.

39).

       The Government falls into the trap — contrary to the reasoning and holding of

the Ninth Circuit in Ermoian — of embracing the lay, rather than the legal under-

standing of the term “proceeding” defined in Section 1515 and as used in Section 1512.

Under the Government’s lay interpretation of what constitutes an “official proceed-

ing,” the Government could use Section 1512 to absurd ends to prosecute, as exam-

ples, any effort to corruptly obstruct action taken by the Congressional Award Board

to give out an award, see 2 U.S.C. § 801, et al., or a request for a report from the



                                          1
         Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 2 of 9




Congressional Budget Office for changing revenue conditions related to some legisla-

tion. See 2 U.S.C. § 602.

        Mr. Montgomery and Mr. Knowlton do not contest, as the Government de-

scribes it, the “formality” of the election certification proceedings or that it is a “sol-

emn” occasion. However, it is not the same as a proceeding related to the administra-

tion of justice. A proceeding related to the administration of justice involves investi-

gation and determinations of whether certain conduct violated the law. They are cru-

cial decisions which can often result in a person’s life and liberty being taken away

from them by subjecting them to a criminal indictment, a conviction, and, most im-

portantly, imprisonment.1 Section 1512 was designed to protect against compromis-

ing those types of proceedings.

        As proof of the distinction, Congress did not, as it did in 40 U.S.C. § 5104, pro-

scribe the conduct and make it only punishable by imprisonment of up to six months

(or five years when a weapon is involved), see 40 U.S.C. § 5109; it made it where a

person would be subject to imprisonment for up to 20 years. See 18 U.S.C. 1512(c). In

other words, while Congress intended to prohibit conduct obstructing its business

within the Capitol (which it plainly did in 40 U.S.C. § 5104), recognizing the impact

of its justicial business when that business could result in a person being deprived of

their life and liberty, it chose to attach a much greater possible penalty to the corrupt




1Defendants recognize that, in addition to being deprived of life and liberty, proceedings related to the
administration of justice can also include forfeiture proceedings and other civil proceedings. See United
States v. Friske, 640 F.3d 1288, 1292 (11th Cir. 2011); United States v. Burge, 711 F.3d 803, 811–12
(7th Cir. 2013). However, as the court noted in Burge, regarding Section 1512(c)(2), “obstruction of
justice are offenses against the integrity of the judicial system.” Id. (emphasis added).

                                                   2
         Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 3 of 9




obstruction of those proceedings in Section 1512. Id.

         This distinction, combined with (a) the plain meaning of the term “proceeding,”

(b) its use in the grammatical context of the “official proceeding” definition found in

Section 1515, (c) the broader statutory context, (d) the legislative history, and even

(e) the Department of Justice’s own manual, all point to Section 1512’s clear, intended

purpose: to prohibit the corrupt obstruction of proceedings related to the administra-

tion of justice. That the indictment in this case does not allege that Defendants ob-

structed such a proceeding, combined with the fact that the Government cannot prove

the same, requires that this Court dismiss Count Ten of the Indictment against the

Defendants.

I.       There is ample authority to support that the “proceeding” allegedly
         obstructed must relate to the administration of justice. What does not
         exist is any precedent to support what the Government is trying to do
         here.

         The Government opened its response by mistakenly stating that Defendants

were attempting to convince this Court “without authority” that the indictment must

allege that the proceedings obstructed relate to the administration of justice. To the

contrary, Defendants have pointed to several authorities to support that this is an

essential element of the offense:

     •   Caselaw from multiple circuits that have interpreted the meaning of “official
         proceeding” as that term is defined in Section 1515, and used in Section
         1512(c)(2), requiring that the proceeding obstructed relate to the administra-
         tion of justice. See United States v. Ermoian, 752 F.3d 1165, 1171 (9th Cir.
         2013); United States v. Ramos, 537 F.3d 439, 462–63 (5th Cir. 2008). See also
         Flores v. Att’y Gen. United States, 856 F.3d 280, 293–94 (3d Cir. 2017) (quoting
         United States v. Tyler, 732 F.3d 241, 247 (3d Cir. 2013)) (emphasis added) (“As
         a threshold matter, § 1512(c)(2) references ‘any official proceeding,’ not a judi-
         cial proceeding or the “the due administration of justice” as in § 1503. However,


                                              3
         Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 4 of 9




        this difference is immaterial under United States v. Tyler, which held that ‘in
        any prosecution brought under a § 1512 provision charging obstruction of jus-
        tice involving an ‘official proceeding,’ the government is required to prove a
        nexus between the defendant’s conduct and a particular official proceeding be-
        fore a judge or court of the United States that the defendant contemplated.”).

    •   Caselaw that has considered this statute in various contexts related solely to
        the administration of justice. See e.g. Arthur Andersen LLP v. United States,
        544 U.S. 696, 708, 125 S. Ct. 2129, 161 L. Ed. 2d 1008 (2005); Burge, 711 F.3d
        at 809; United States v. Sampson, 898 F.3d 287, 300 (2d Cir. 2018); United
        States v. Young, 916 F.3d 368, 386 (4th Cir.), cert. denied, 140 S. Ct. 113, 205
        L. Ed. 2d 33 (2019).

    •   The Department of Justice’s own interpretation of Section 1512 reflected in
        their Criminal Resource Manual. See CRIMINAL RESOURCE MANUAL, CRM 1729,
        Department of Justice. (Section 1512 “proscribes conduct intended to illegiti-
        mately affect the presentation of evidence in Federal proceedings or the com-
        munication of information to Federal law enforcement officers.”).

    •   Consideration of other surrounding statutory provisions in Chapter 73. See
        NASDAQ Stock Mkt., LLC v. Sec. & Exch. Comm’n, 961 F.3d 421, 426 (D.C.
        Cir. 2020) (quoting Util. Air Regulatory Grp. v. E.P.A., 573 U.S. 302, 321, 134
        S. Ct. 2427, 189 L. Ed. 2d 372 (2014)) (“A statutory provision that may seem
        ambiguous in isolation is often clarified by the remainder of the statutory
        scheme[,] because only one of the permissible meanings produces a substantive
        effect that is compatible with the rest of the law.”).

    •   The legislative history for the statute. See Exxon Mobil Corp. v. Allapattah
        Servs., Inc., 545 U.S. 546, 568, 125 S. Ct. 2611, 2626, 162 L. Ed. 2d 502 (2005)
        (“Extrinsic materials have a role in statutory interpretation only to the extent
        they shed a reliable light on the enacting Legislature’s understanding of oth-
        erwise ambiguous terms.”); SARBANES–OXLEY ACT OF 2002, Pub. L. No. 107-
        204, 116 Stat. 745; S. REP. NO. 107-146, at 2 (2002).

        Everything about the prosecution of Defendants for violating Section 1512(c)(2)

flies in the face of all this.2


2 Even if the Court “harbored any doubt about this — that is, [it] were [] unable to find ‘an unambigu-
ous intent on the part of Congress’” from all these authorities, the Court could “turn to the rule of
lenity to resolve the dispute.” United States v. Villanueva-Sotelo, 515 F.3d 1234, 1246 (D.C. Cir. 2008)
(quoting United States v. West, 393 F.3d 1302, 1311 (D.C.Cir.2005)); see also Moskal v. United States,
498 U.S. 103, 108, 111 S. Ct. 461, 112 L. Ed. 2d 449 (1990) (“[W]e have always reserved lenity for those
situations in which a reasonable doubt persists about a statute’s intended scope even after resort to

                                                   4
         Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 5 of 9




        What truly does not exist is any authority or precedent for what the Govern-

ment is attempting to do here. An extensive search of judicial opinions and open-

source material reveal that no federal prosecutor has ever attempted to bring a pros-

ecution against an individual under Section 1512(c)(2) for corruptly obstruction a leg-

islative proceeding. This includes in response to an instance where an individual was

arrested and charged for obstructing the Senate judicial confirmation hearing for Su-

preme Court Justice Brett Kavanaugh. See United States v. Barry, No. MAG 18-

00111 (RMM), 2019 WL 2396266, at *1 (D.D.C. June 5, 2019). In short, protests

within the Capitol are not something new. While the events of January 6, 2021 were,

in many ways, unprecedented, the nature of those events do not justify the Govern-

ment’s unprecedented attempts to prosecute the Defendants for conduct which the

statute was not intended to reach.3

II.     While Mr. Knowlton may know what proceeding the Government al-
        leges he obstructed, the indictment does not insure a grand jury found
        the critical element needed to prove a violation of the statute.



‘the language and structure, legislative history, and motivating policies’ of the statute.”). The rule is
“rooted in fundamental principles of due process which mandate that no individual be forced to spec-
ulate, at peril of indictment, whether his conduct is prohibited.” Dunn v. United States, 442 U.S. 100,
112, 99 S. Ct. 2190, 2197, 60 L. Ed. 2d 743 (1979) (citations omitted). In other words, a person must
have reasonable notice of what conduct is prohibited. Most importantly, “[t]he rule of lenity requires
ambiguous criminal laws to be interpreted in favor of the defendants subjected to them.” United States
v. Santos, 553 U.S. 507, 514, 128 S. Ct. 2020, 2025, 170 L. Ed. 2d 912 (2008) (citing United States v.
Gradwell, 243 U.S. 476, 485, 37 S. Ct. 407, 61 L. Ed. 857 (1917); McBoyle v. United States, 283 U.S.
25, 27, 51 S. Ct. 340, 75 L. Ed. 816 (1931); United States v. Bass, 404 U.S. 336, 347–349, 92 S. Ct. 515,
30 L. Ed. 2d 488 (1971)).

3 It is also worth bearing that the Supreme Court has repeatedly stated that a statute implicating a
person’s First Amendment rights to free speech must be “narrowly drawn to define and punish specific
conduct.” See Cantwell v. State of Connecticut, 310 U.S. 296, 308, 60 S. Ct. 900, 905, 84 L. Ed. 1213
(1940); Nat'l Ass'n for Advancement of Colored People v. Button, 371 U.S. 415, 432, 83 S. Ct. 328, 337,
9 L. Ed. 2d 405 (1963) (“[G]overnment may regulate in the area only with narrow specificity”); Ameri-
cans for Prosperity Found. v. Bonta, No. 19-251, 2021 WL 2690268, at *6 (U.S. July 1, 2021)(“Narrow
tailoring is crucial.”).

                                                   5
        Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 6 of 9




        The Government correctly notes in its response that Mr. Montgomery and Mr.

Knowlton are “well aware” that the “proceeding before Congress” that the Govern-

ment is prosecuting them for allegedly obstructing was the election certification pro-

ceedings. That, however, is not the primary problem with Count Ten of the indict-

ment.

        As Mr. Knowlton originally pointed out in his motion — and the Government

failed to respond to — there is a constitutional guarantee implicated here: the Fifth

Amendment’s guarantee that a criminal defendant may only be prosecuted for of-

fenses, the elements of which have been considered and found to exist by a grand jury

such that the defendant may not be subject to multiple prosecutions for the same

offense. See United States v. Hillie, 227 F. Supp. 3d 57 (D.D.C. 2017). It is this essen-

tial protection that prevents the Government from merely responding to a bill of par-

ticulars or amending the indictment. See Russell v. United States, 369 U.S. 749, 771,

82 S. Ct. 1038, 8 L. Ed. 2d 240 (1962). There must be a showing that the grand jury

found the essential element that the proceeding obstructed was not just any Congres-

sional proceeding, but one related to the administration of justice.

        It is telling that the Government makes no mention of or responds to the ap-

plication of Russell. Russell provides an analogous scenario to the one presented here.

See id. at 754–55, 764, 771–72. Like in Russell, where the indictment failed to allege

a non-statutory element that goes to “the very core of the criminality” proscribed by

the law, the indictment here is likewise defective. See id. By simply alleging that

Defendants corruptly obstructed an “official proceeding before Congress,” there is



                                           6
       Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 7 of 9




nothing in the indictment to reflect that “the very core of the criminality” proscribed

by Section 1512(c)(2) is implicated here. That the proceeding obstructed related to the

administration of justice indeed goes to the “very core of the criminality” proscribed

by Section 1512(c)(2).

      In this case, the Government simply could have told the grand jury that the

election certification was a “proceeding,” incorrectly espousing the lay meaning of

that term, to secure its indictment for a violation of Section 1512(c)(2). Because there

are certain proceedings before Congress, such as a congressional committee acting in

a capacity related to the administration of justice, that could arguably be protected

from the criminal conduct proscribed by Section 1512(c)(2), but other proceedings,

like other legislative action before the Senate or House of Representatives, which

clearly do not, it is an essential element of the charged offense and necessary to be

included in the indictment. Because it is not alleged here, this Court must dismiss

Count Ten of the Indictment against the Defendants.

      WHEREFORE, PREMISES CONSIDERED, the Defendants respectfully re-

quests this Honorable Court dismiss Count Ten of the Indictment against them.

Date: July 11, 2021                     Respectfully Submitted,

                                        RONALD SULLIVAN LAW, PLLC

                                        by: /s/ Ronald S. Sullivan Jr.
                                        RONALD S. SULLIVAN JR.
                                        D.C.D.C. Bar ID 451518
                                        rsullivan@ronaldsullivanlaw.com

                                        1300 I Street NW
                                        Suite 400 E
                                        Washington, DC 2005


                                           7
Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 8 of 9




                            Telephone: (202) 935-4347
                            Fax: (617) 496-2277
                            MAYR LAW, P.C.

                            by: /s/ T. Brent Mayr
                            T. BRENT MAYR
                            Texas State Bar Number 24037052
                            D.C.D.C. Bar ID TX0206
                            bmayr@mayr-law.com

                            5300 Memorial Dr., Suite 750
                            Houston, TX 77007
                            Telephone: 713-808-9613
                            Fax: 713-808-9613

                            WAGNER PLLC

                            by: /s/ Camille Wagner
                            CAMILLE WAGNER
                            DC Bar No. 1695930
                            law@myattorneywagner.com

                            1629 K Street NW, Suite 300
                            Washington, DC 20006
                            (202) 630-8812

                            ATTORNEYS FOR THE DEFENDANT,
                            BRADY KNOWLTON

                            A.J. KRAMER
                            FEDERAL PUBLIC DEFENDER

                            by: /s/ Dani Jahn
                            DANI JAHN
                            Assistant Federal Public Defender

                            625 Indiana Avenue, N.W., Ste 550
                            Washington, D.C. 20004
                            (202) 208-750

                            ATTORNEY FOR THE DEFENDANT,
                            PATRICK MONTGOMERY




                               8
      Case 1:21-cr-00046-RDM Document 44-1 Filed 07/11/21 Page 9 of 9




                          CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this reply was sent to Counsel for the

Government, Elizabeth Kelley, on July 11, 2021, via CM/ECF and email.

                                       /s/ T. Brent Mayr
                                       T. BRENT MAYR




                                          9
